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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE LITIGATION                             MDL No. 1456


THIS DOCUMENT RELATES TO:                                      CIVIL ACTION: 01-CV-12257-PBS

State of Arizona v. Abbott Labs., Inc., et al.,
        Cause No. 1:06-CV-11069-PBS


          [PROPOSED] ORDER OF DISMISSAL OF THE BRAUN DEFENDANTS

         The Joint Motion for Dismissal of defendants B. Braun Medical, Inc., B. Braun of

America, Inc., and McGaw Inc. (“the Braun Defendants”) is hereby GRANTED. The Braun

Defendants are hereby dismissed, with prejudice, from the above-referenced action.

         So ordered,

         Dated ________________________




                                                  Honorable Patti B. Saris
                                                  United States District Court Judge




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                                CERTIFICATE OF SERVICE

       I, Steve W. Berman, hereby certify that a true and correct copy of the above document
was served on the attorney of record for each party via the Court’s electronic filing system this
20th day of October, 2010.


                                              By        /s/ Steve W. Berman
                                                 Steve W. Berman
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                                              Seattle, WA 98101
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